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      In The United States Court of Federal Claims
                                            No. 02-25L

                                     (Filed: April 8, 2011)
                                          __________

 JICARILLA APACHE NATION, formerly
 JICARILLA APACHE TRIBE,

                               Plaintiff,

                       v.

 THE UNITED STATES,

                              Defendant.

                                            _________

                                             ORDER
                                            _________

        On March 30, 2011, defendant filed an unopposed motion to modify or amend the
protective order. This motion is hereby GRANTED. Accordingly, paragraph one of the court’s
February 19, 2010, protective order is modified to read as follows:

      “ 1. Scope. This order shall govern documents that, in the Order dated July 3,
      2009, Dkt. Nos. 211, 216, this court has directed that defendant produce to
      plaintiff. Also, this Order shall govern all other documents hereinafter produced
      by defendant in this case in conformance with the decision in In re United States,
      590 F.3d 1305 (Fed. Cir. 2009), and that defendant claims to be protected from
      discovery by virtue of the attorney-client privilege, in the absence of the
      application of the fiduciary exception, as defined in In re United States. Further,
      this order shall govern any deposition testimony given hereinafter that defendant
      claims to be protected from discovery by virtue of the attorney-client privilege, in
      the absence of the application of the fiduciary exception, as defined in In re
      United States. This order shall not apply to document numbers 13 and 14
      described in Appendix A of Jicarilla Apache Nation v. United States, 88 Fed. Cl.
      1, 24 (2009) or to other copies of those documents.”
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        In all other respects, the court’s February 19, 2010, protective order remains unmodified
and in full force and effect.

       IT IS SO ORDERED.




                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge




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